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16
                     IN THE UNITED STATES DISTRICT COURT
17
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
                                  SOUTHERN DIVISION
19
     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
20   a Delaware corporation; and            )
     CERCACOR LABORATORIES, INC.,           ) MASIMO CORPORATION AND
21   a Delaware corporation                 ) CERCACOR LABORATORIES,
                                            ) INC.’S L.R. 16-10
22               Masimo,                    ) TRIAL BRIEF
                                            )
23         v.                               )
                                            )
24   APPLE INC., a California corporation   ) Pre-Trial Conf.:   10/28/2024
                                            ) Trial:             11/05/2024
25               Defendant.                 )
                                            ) Hon. James V. Selna
26                                          )
                                            )
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1          Pursuant to Local Rule 16-10, Masimo Corporation and Cercacor Laboratories,
2    Inc. (“Masimo”) respectfully submit the following Trial Brief for the trial scheduled to
3    commence on November 5, 2024.
4               I. APPLE MISSTATES MASIMO’S CLAIMS AND REMEDIES
5          Apple’s summary of Masimo’s claims in its Memorandum of Contentions of Fact
6    and Law (“Memorandum”) is inaccurate and incomplete. See Dkt. 2159 at 1-2.
7          For example, Apple fails to recognize that Masimo’s Claims 20-23 and 26 include
8    that Lamego contributed to the Disputed Patents under an obligation to assign his rights
9    to Masimo. Apple also omits the injunctive relief that Masimo seeks. Dkt. 2159 at 4,
10   10, 16, 18, 21. Masimo seeks to enjoin further misappropriation.
11         Masimo’s claims are outlined in Masimo’s Memorandum of Contentions of Fact
12   and Law (Dkt. 2151), the First Amended Joint [Proposed] Pretrial Conference Order
13   (Dkt. 2177-1), and Masimo’s Proposed Findings of Fact and Conclusions of Law (filed
14   concurrently herewith).
15              II. APPLE MISSTATES ELEMENTS OF MASIMO’S CLAIMS
16         Apple’s Memorandum misstates the elements of Masimo’s causes of action.
17   A.    Apple Misstates The Elements Of Trade Secret Misappropriation
18         1.     Masimo Need Not Allocate “Ownership” Between The Plaintiffs
19         Apple argues Masimo must prove “(1) the existence and ownership of a trade
20   secret and (2) misappropriation of a trade secret.” Dkt. 2159 at 2 (citing Cal. Civ. Code
21   § 3426.1 and Cal. Civ. Jury Instr. 4400-4401). Apple appears to be preserving for appeal
22   its prior argument that Masimo must allocate “ownership” between the two Plaintiffs,
23   which this Court previously rejected. Dkt. 1283 at 3, 13 (rejecting that Masimo must
24   show “‘ownership’ in a traditional sense and not merely ‘possession’ of the trade
25   secrets”); Dkt. 1715 (Jury Instructions) at 27 (Instruction No. 20) (“Masimo and
26   Cercacor must prove that they were in lawful possession of the Asserted Trade Secrets
27   at the time of the asserted misappropriation.”). Apple presents no reason to reconsider
28
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1    the Court’s prior rulings. Thus, Masimo need show only lawful possession—not allocate
2    “ownership” between the Plaintiffs.
3          2.         Masimo Need Not Show Apple Knew Of The Misappropriation
4          Apple argues that Masimo “must show that Apple acquired, used, or disclosed
5    each purported secret, knowing or having reason to know that Apple gained access to
6    the purported secret through improper means.” Dkt. 2159 at 3 (emphasis added). Apple
7    misstates the knowledge requirement for two reasons.                 First, showing the
8    misappropriator knew or had reason to know it gained access to the secret through
9    improper means is required to show misappropriation through improper acquisition. See
10   Cal. Civ. Code § 3426.1(b)(1).
11         Such knowledge is sufficient to show misappropriation by improper use or
12   disclosure. Id. § 3426.1(b)(2)(A). But such knowledge is not required. Masimo can
13   also show that that Apple “knew or had reason to know” that its knowledge of the trade
14   secret was:
15         (i) Derived from or through a person who had utilized improper means to acquire
16              it;
17         (ii) Acquired under circumstances giving rise to a duty to maintain its secrecy or
18              limit its use; or
19         (iii) Derived from or through a person who owed a duty to the person seeking
20              relief to maintain its secrecy or limit its use; … .
21   Cal. Civ. Code § 3426.1(b)(2)(B); see also CACI No. 4407.
22         Second, Apple ignores that Masimo may, but need not, show any knowledge on
23   the part of “Apple.” It is sufficient for Masimo to show that Lamego misappropriated
24   Masimo trade secrets within the scope of his Apple employment.
25         The Supreme Court recognizes that “[a]n employer may be liable for both
26   negligent and intentional torts committed by an employee within the scope of his or her
27   employment.” Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 755–56 (1998). Apple
28   is strictly liable for torts committed by its employees, including Lamego, regardless of
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1    whether Apple knew of the torts or even specifically prohibited them. “The Restatement
2    defines conduct, including an intentional tort, to be within the scope of employment
3    when ‘actuated, at least in part, by a purpose to serve the [employer],’ even if it is
4    forbidden by the employer.” Id. (emphasis added) (quoting Restatement of Torts
5    §§ 228(1)(c), 230); id. (“tortious conduct is within the scope of employment because it
6    benefits the employer by increasing sales, even though it may violate the employer’s
7    policies”). This is why employers are commonly held liable for their employees’ car
8    accidents, even when the employer did nothing wrong.
9          California courts regularly apply this general principle to all types of torts.
10         Under the doctrine of respondeat superior, an innocent employer may be
11         liable for the torts its employee commits while acting within the scope of
           his employment. This liability is based not on the employer’s fault, but on
12         public policies concerning who should bear the risk of harm created by the
13         employer’s enterprise. It is considered unjust, for example, for an employer
           to disclaim responsibility for injuries occurring in the course of its
14         characteristic activities. Moreover, losses caused by employees’ torts are
15         viewed as a required cost of doing business, the risk of which an employer
           may spread through insurance.
16
17   Yamaguchi v. Harnsmut, 106 Cal. App. 4th 472, 481–82 (2003) (citations omitted).
18         California courts recognize that employers are liable for willful, malicious, and
19   even criminal torts of employees, despite such liability initially seeming surprising.
20         Equally well established, if somewhat surprising on first encounter, is the
           principle that an employee’s willful, malicious and even criminal torts may
21
           fall within the scope of his or her employment for purposes of respondeat
22         superior, even though the employer has not authorized the employee to
23         commit crimes or intentional torts.

24   Lisa M. v. Henry Mayo Newhall Mem’l Hosp., 12 Cal. 4th 291, 298–99 (1995).
25         Federal courts specifically recognize that vicarious liability applies to trade secret
26   misappropriation regardless of employer knowledge of the tort. A court in the Northern
27   District of California resolved this precise issue: “[Corporate defendant’s] contention
28   that it cannot be liable for the acts of [individual employee defendants] because their

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1    actions violated [corporate defendant’s] policies and were not known to [corporate
2    defendant’s] executives is without merit.” Language Line Servs., Inc. v. Language
3    Servs. Assocs., LLC, 2010 WL 2764714, at *4 (N.D. Cal. July 13, 2010) (plaintiff
4    showed likelihood of success on trade secret claim against corporate defendant). The
5    same court later held that trade secret law “does not preempt the respondeat superior
6    doctrine” and a corporate defendant cannot prevail “merely by arguing that it was not
7    aware of the acts of its employees[.]” Language Line Servs., Inc. v. Language Servs.
8    Assocs., Inc., 944 F. Supp. 2d 775, 783 (N.D. Cal. 2013) (denying summary judgment
9    of no corporate liability for trade secret misappropriation). Nor is the Northern District
10   alone in reaching this conclusion.
11         A court in this district found, after a bench trial, that the corporate defendants
12   “misappropriated Allergan’s trade secrets (a) through the acts of the Individual
13   Defendants described herein, … .” Allergan, Inc. v. Merz Pharms., LLC, 2012 WL
14   781705, at *12 ¶ 65 (C.D. Cal. Mar. 9, 2012). A court in the Southern District similarly
15   found that, even though “others at Sotera did not know about these actions and did not
16   request or require them” the court found that “Sotera must be responsible for certain
17   actions of [the individual defendants] under the doctrine of respondeat superior.” In re
18   Sotera Wireless, Inc., BK. No. 16-05968-LT11, Dkt. 1026 at p.95 ¶ 394 (S.D. Cal. Jul.
19   18, 2017) (Amended Memorandum of Decision).
20         Moreover, the Court long ago told Apple that it could be liable under respondeat
21   superior for Lamego’s acts of misappropriation. After full briefing on a motion to
22   dismiss, the Court held “Plaintiffs have stated a theory of misappropriation based on
23   respondeat superior as to all relevant trade secrets.” Dkt. 361 at 9 (citing Brain Injury
24   Ass’n. of California v. Yari, 2020 WL 3643482, at *6 (C.D. Cal. Apr. 30, 2020)). The
25   Court found Masimo sufficiently alleged that Apple is liable for misappropriation by
26   Lamego, but not O’Reilly, under a respondeat superior theory. Id. at 10-11. Thus, the
27   Court dismissed “Plaintiffs’ vicarious liability claim with respect to the business-,
28   marketing-, and hospital-related trade secrets but denies the motion with respect to the
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1    other categories of trade secrets.” Id.
2          Accordingly, while it would be sufficient for Masimo to establish knowledge by
3    Apple, Masimo need not do so.1 Apple, as Lamego’s employer, is liable for Lamego’s
4    acts of misappropriation without regard to fault.
5          3.     Masimo Need Not Establish Damages/Harm Or Causation
6          Apple asserts that harm is an element of trade secret misappropriation. Dkt. 2159
7    at 3 (“Plaintiffs must also establish that Apple’s ‘actions damaged’ Plaintiffs.”), 16
8    (“misappropriation must have been ‘a substantial factor in causing’ harm or unjust
9    enrichment”). Apple appears merely to be preserving the issue for appeal. The law is
10   clear that proving harm is not an element of trade secret misappropriation.
11         Masimo addressed this issue when briefing jury instructions before the first trial.
12   See Dkt. 1501 at 79-81 (addressing Instruction 16A). The Court rejected Apple’s
13   position in finalizing the jury instructions. Dkt. 1715 at 26. Unlike respondeat superior
14   discussed above, Apple fails to show why the Court should revisit its prior ruling that
15   harm is not an element of misappropriation.
16         For convenience, Masimo summarizes the prior dispute. Apple (and the CACI
17   instruction) adds two requirements not in the statute—damages and causation.
18   Causation and damages are not required to prove liability for trade secret
19   misappropriation. See Cal. Civ. Code § 3426.1(a), (b), (d). The statute conclusively
20   establishes that neither damages (nor causation) is required. In fact, CUTSA expressly
21   provides remedies for misappropriation even absent damages or unjust enrichment: “If
22   neither damages nor unjust enrichment caused by misappropriation are provable, the
23   court may order payment of a reasonable royalty for no longer than the period of time
24   the use could have been prohibited.” Cal. Civ. Code § 3426.3(b) (emphasis added).
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     1
26     The Court noted that it declined to include respondeat superior “as it relates to the jury
     instructions and verdict form and does not intend to revisit it for any future trial.” Dkt.
27   1901 at 18, n. 7. Masimo submits that the Court should revisit the issue in view of the
28   above controlling case law.

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1          Apple cannot dispute the statute expressly provides for a finding of liability and
2    remedies even where causation and harm are unprovable. Thus, liability for trade secret
3    misappropriation does not require proof of damages or unjust enrichment.2
4    B.    Apple Misstates The Law On Correcting Inventorship
5          Apple suggests the coinventors must work together through joint behavior.
6    Dkt. 2159 at 5, 15. The Court rejected this position. Dkt. 1715 at 51.
7          This decision was correct. As Masimo explained, Masimo can prove inventorship
8    by showing one or more of its employees made a substantial contribution to conception
9    of at least one limitation in at least one claim. See Dkt. 1548 at 259-262; Vapor Point
10   LLC v. Moorhead, 832 F.3d 1343, 1348-49 (Fed. Cir. 2016) (“All inventors, even those
11   who contribute to only one claim or one aspect of one claim of a patent, must be listed
12   on that patent.”).         “The inventors need not work physically together or
13   contemporaneously to be joint inventors; nor must each inventor contribute equally or
14   to each claim of the patent.” Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ.
15   v. Hedrick, 573 F.3d 1290, 1298, 1299 (Fed. Cir. 2009). This is especially true here
16   where Lamego left Masimo and filed patent applications with his new employer, Apple.
17   To the extent communication between inventors was required, those communications
18   occurred between Lamego and other named inventors.
19         Masimo employees contributed aspects of the claims that Apple relied on to
20   establish patentability.    Apple cannot dispute that such contributions constitute
21   substantial contributions to the overall scope of the claim. See Blue Gentian, LLC v.
22   Tristar Products, Inc., 70 F. 4th 1351, 1360 (Fed. Cir. 2023).
23
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     2
26    If the Court were to revisit its prior ruling and hold that harm is an element of liability
     for trade secret misappropriation, Masimo maintains its right to present evidence of
27   unjust enrichment to support the existence of harm and/or unjust enrichment. See
28   CACI 4401; Dkt. 2177-1 at 7 n.12.

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1    C.    Apple Misstates The Law On Declaring Masimo A Co-Owner
2          To prove that Masimo has an ownership interest in a Disputed Patent, Masimo
3    must show, by a preponderance of the evidence, that at least one inventor of that patent
4    did one or both of the following: (1) assigned to Masimo his interest in the patent; or
5    (2) made his inventive contribution to the patent at a time and under conditions that
6    created an obligation to assign to Masimo his rights in such inventions.
7          Apple argues that “where an alleged joint inventor has failed to ‘meet the heavy
8    burden’ of proving that he or she is indeed a joint inventor, there is no ownership interest
9    to be acquired.” Dkt. 2159 at 6. That is only one of two alternative ways of showing
10   correction of ownership. Masimo is also alleging that the Court should add Masimo as
11   a co-owner even if the Court does not change inventorship. Under that theory, Masimo
12   can establish ownership by showing that Marcelo Lamego made his inventive
13   contribution to the Disputed Patent at a time and under conditions that created an
14   obligation to assign his rights in the invention to Masimo. Because Lamego is already
15   an inventor on all of the Disputed Patents, the Court may add Masimo as a co-owner
16   under this theory without changing inventorship.
17              III. APPLE MISSTATES ELEMENTS OF ITS DEFENSES
18         Apple also misstates the elements of its own defenses.
19   A.    Apple Misstates The Elements Of Its Statute Of Limitations Defense
20         Apple argues Masimo has the “burden of proving the facts necessary to toll the
21   statute.” Dkt. 2159 at 14 (quoting Gabriel Techs. Corp. v. Qualcomm Inc., 857 F. Supp.
22   2d 997, 1003 (S.D. Cal. 2012)). Apple does not explain what it means by “toll the
23   statute.” Regardless, Apple acknowledges that this Court held the limitations period
24   does not begin to run until “‘there is reason to suspect that a trade secret has been
25   misappropriated and a reasonable investigation would produce facts sufficient to
26   confirm this suspicion (and justify bringing suit).’” Dkt. 2159 at 14 (quoting Dkt. 606
27   at 3) (emphases added).
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1          In addition, the Court held that any knowledge of O’Reilly’s alleged
2    misappropriation of business and marketing trade secrets would not be sufficient to
3    cause the statute of limitations to run on the technical trade secrets misappropriated
4    through Lamego. Dkt. 1901 at 19.
5    B.    Apple Misstates The Elements Of Its Superfluous Laches Defense
6          Apple’s laches defense is superfluous in this bench trial. Apple concedes that
7    laches, as an equitable defense, cannot bar a legal claim for misappropriation of trade
8    secrets that is filed within the statute of limitations. See Dkt. 1904 at 4 (“the parties
9    agree that laches may be applied as an equitable bar to untimely misappropriation
10   claims”); See also Blaser v. State Teachers’ Ret. Sys., 86 Cal. App. 5th 507, 540 (2022)
11   (“Even where equitable claims are combined with actions at law, laches remains
12   unavailable as a defense to the legal claims.”), review denied (Mar. 15, 2023). Thus, as
13   long as Masimo brought its claim for misappropriation within the statute of limitations,
14   Apple’s laches defense does not apply. Whereas, if Masimo’s claim were barred by the
15   statute of limitations, Apple’s laches defense would be irrelevant. Apple also misstates
16   the elements of its irrelevant defense.
17         Apple argues that laches requires (1) unreasonable delay and (2) either
18   acquiescence in the act about which Masimo complains or prejudice to Apple resulting
19   from the delay. Dkt. 2159 at 14. Acquiescence is not at issue in this case. See Dkt.
20   2159 at 16-17 (Apple identifying evidence in alleged support of laches). Thus, Apple’s
21   defense of laches requires it to prove that: (1) Masimo unreasonably delayed asserting
22   or diligently pursuing a claim for misappropriation of trade secrets; and (2) any delay
23   prejudiced Apple. See Johnson v. City of Loma Linda, 24 Cal. 4th 61, 68 (2000); Masimo
24   Corp. v. True Wearables, Inc., 2022 WL 17083396, at *20 (C.D. Cal. Nov. 7, 2022).
25   C.    Apple Ignores Its Heavy Burden Of Proof To Show Waiver
26         Apple ignores the burden it bears to establish waiver. To succeed on its waiver
27   defense, Apple must prove waiver by clear and convincing evidence. See Dkt. 2159 at
28   15; Cruz v. Nat’l Steel & Shipbuilding Co., 910 F.3d 1263, 1270 (9th Cir. 2018).
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1    D.    Apple Preserved No Other Defenses
2          Apple’s Memoranudm discusses the following additional defenses: readily
3    ascertainable, independent development, independent invention, no causation, and
4    unclean hands. Dkt. 2159 at 12-13. Apple preserved none of these defenses in the
5    pretrial conference order. Dkt. 2177-1 at 13-14 (preserving only laches, statute of
6    limitations, and waiver). Apple also did not preserve these defenses in the prior pretrial
7    conference order. Dkt. 1483 at 9-10. In the Court’s Rule 50(a) order, the Court found
8    that most of these defenses were moot because Apple “represented off the record to the
9    Court in preparing the jury instructions that it would no longer advance such defense.”
10   Dkt. 1724 at 19.3
11         Accordingly, Apple cannot pursue at trial any defense other than laches, statute
12   of limitations, and waiver.
13               IV. APPLE CANNOT INCORPORATE BY REFERENCE
14         Apple attempts to incorporate previous discovery responses, reports, and filings
15   into its Memorandum by reference. Dkt. 2159 at 7, 9, 10, 11, 12, 17, 18, 19. Masimo
16   objects to Apple’s attempt to incorporate these materials into its Memorandum. Masimo
17   cannot reasonably respond to the material Apple purports to incorporate. Apple’s
18   contentions should be included in its Memorandum and Apple’s attempted incorporation
19   fails to properly disclose or preserve them.
20           V. APPLE’S ARGUMENT ABOUT STANDING LACKS MERIT
21         In its Memorandum, Apple states that “standing is now disputed, given the failure
22   of Plaintiffs to provide any information regarding the transformation of Cercacor into
23   Willow.” Dkt. 2159 at 3 n.2. As explained at the Pretrial Conference, Cercacor
24   Laboratories, Inc. reincorporated in Nevada and changed its name to Willow
25
26   3
      Apple misstates the elements of readily ascertainable and unclean hands (Dkt. 2159 at
27   14-15), but Masimo does not respond because Apple expressly admits it included those
28   arguments only for preservation purposes (Dkt. 2159 at 13, nn. 7&8).

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1    Laboratories, Inc. after the April 2023 trial. This corporate formality merely changed
2    one party’s name and state of incorporation and had no impact whatsoever on
3    Cercacor/Willow’s rights to any trade secret at issue here. On October 29, 2024, Apple
4    deposed the Williow representative to confirm these facts. The corporate name change
5    does not affect the claims or defenses in this action. Masimo has requested that Apple
6    stipulate to modify the case caption to substitute Willow for Cercacor. If Apple refuses,
7    Masimo will take appropriate action.
8     VI. MASIMO’S RESPONSE TO APPLE’S “ANTICIPATED EVIDENTIARY
9                                           ISSUES”
10         Apple notes the parties’ disputes regarding the Court’s previous in limine rulings.
11   Dkt. 2159 at 19-20. Masimo disagrees with Apple’s position for the reasons outlined in
12   the briefing on Masimo’s motion. Dkt. 2128; Dkt. 2143; Dkt. 2167.
13         Apple also includes assertions regarding confidentiality provisions in Masimo’s
14   employee agreements, which were not raised in the briefing on Masimo’s motion. See
15   Dkt. 2159 at 19-20. Apple provides no basis for asserting that Masimo may not rely on
16   its employee agreements.
17    VII. MASIMO’S RESPONSE TO APPLE’S “ABANDONMENT OF ISSUES”
18         Masimo disagrees with Apple’s pejorative characterization that Masimo
19   “abandoned” certain trade secrets. Dkt. 2159 at 21-22. Masimo has not abandoned any
20   trade secrets. Rather, Masimo agreed to narrow the case by agreeing not to pursue claims
21   for misappropriation of some trade secrets and the Court ruled against Masimo regarding
22   others.
23         Masimo no longer plans to seek an unjust enrichment remedy at the November
24   2024 bench trial.
25         Masimo reserves all other rights and remedies.
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                                   ID #:186359



1                                         Respectfully submitted,
2                                         KNOBBE, MARTENS, OLSON & BEAR, LLP
3
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                                     ID #:186360



1                                CERTIFICATE OF COMPLIANCE
2          The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 3,244 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
6
7                                                  KNOBBE, MARTENS, OLSON & BEAR, LLP
8
9    Dated: October 29, 2024                   By: /s/ Jared C. Bunker
                                                    Joseph R. Re
10                                                  Stephen C. Jensen
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